CaS€ 1217-CV-OO467-REB

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Plaintiff/Petitioner,
Full name(S)

 

CASE NO. 15| l »cgz- 567 -REB

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Co'mzoN M E/WAL HEALTH €MZE prove oE/ZS
Defendant/Respondent($),
Full name(S). Do not use e_t. a_l.

 

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Respectfully submitted this q.“ day of NOVEMDEZ 20 17 .

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Mefendant (circle one)

CERTIFICATE OF MAILING
IHEREBY CERTIFY that on the q'“` day of MOUEM DE}Z ,20 17 , I
mailed a true and correct copy of the ¢\'lDTloN H>l? EMEROEN(Y I~JvNc-rlvE TZELlEF / o)?DEIZ FOIC via
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Plaintiff_ (circle one)

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